
37 So.3d 969 (2010)
P.W., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-485.
District Court of Appeal of Florida, First District.
June 21, 2010.
Nancy A. Daniels, Public Defender, and Archie F. Gardner Jr., Assistant Public Defender, Tallahassee, for Appellant.
*970 Bill McCollum, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant challenges a juvenile delinquency adjudication and disposition which was entered upon the appellant's guilty plea. The appellant later moved to withdraw his plea, and in this appeal he contends that the court should have granted that motion. However, the appellant has not shown any error in the court's denial of the motion, which was filed almost a month after the adjudication and disposition.
The Rules of Juvenile Procedure permit withdrawal of a plea "for good cause ... at any time prior to the beginning of a disposition hearing...." See Fla.R.Juv.P. 8.075(e). Those rules do not authorize withdrawal of a plea after disposition, and the appellant suggests that the "manifest injustice" standard which applies after sentencing in criminal cases, see e.g. Powell v. State, 929 So.2d 54 (Fla. 5th DCA 2006), should likewise apply here on the motion to withdraw after disposition. But even if we were to apply that standard in this juvenile proceeding, the appellant has not established any manifest injustice in this case and the denial of the motion to withdraw was a proper exercise of the juvenile court's discretion.
AFFIRMED.
PADOVANO, THOMAS, and CLARK, JJ., concur.
